               Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 1 of 21



Date        Matter    Lwyr   Hours          Rate        Amount   Inv#     Explanation
                                                                          Coordinate the preparation of Petition against the proper legal
3/1/2012    3308.27   GPR            0.10      200.00       20.00 23245   entity for Simple HR.

                                                                          Review and finalize Petition for filing in Oklahoma County District
                                                                          Court (.5); review and finalize Notice of Exemption from Filing Fees
                                                                          (.1); review and finalize Entry of Appearance for filing in Oklahoma
3/7/2012    3308.27   KAW            0.70      200.00      140.00 23245   County District Court (.1).
3/7/2012    3308.27   JOC            0.30      200.00       60.00 23245   Attention to filing of action v. Pyramid.

4/3/2012    3308.27   KAW            0.20      200.00       40.00 24322   Review inquiry from counsel for Simple HR regarding matter (.2).

                                                                          Receive and review email correspondence regarding Robert Byerts
4/3/2012    3308.27   JOC            0.20      200.00       40.00 24322   / Simple HR / Pyramid regarding claim of monies on deposit.
                                                                          Draft email correspondence to Kris Williams regarding PEO Pyramid
                                                                          Diversified Services and contact from representative of Pyramid /
                                                                          Simple HR (.30); review file regarding Simple HR collateral and
4/3/2012    3308.27   JOC            0.80      200.00      160.00 24322   amounts owed (.50).
                                                                          Telephone call with Kris Williams regarding prior lawsuit with
                                                                          Simple HR (.2); begin review of pleadings in prior, pending action
4/3/2012    3308.27   GPR            0.60      200.00      120.00 24322   (.4).

                                                                          Receive and review email correspondence from Kris Williams
4/4/2012    3308.27   JOC            0.30      200.00       60.00 24322   regarding her call from Simple / Pyramid Bill Lindsley.

                                                                          Receive and review email correspondence from Robert Byerts with
                                                                          Order regarding Stay as to Park Avenue, Order Lifting Stay for a
4/4/2012    3308.27   JOC            0.60      200.00      120.00 24322   Limited Purpose, Proof of Claim and other documents.

                                                                          Draft email correspondence to Assistant Receiver Mark Tharp and
4/4/2012    3308.27   JOC            0.30      200.00       60.00 24322   Kris Williams regarding assertions of Simple HR counsel.

4/4/2012    3308.27   JOC            0.70      200.00      140.00 24322   Continue review of file for call with Simple HR legal counsel today.
4/4/2012    3308.27   JOC            0.30      200.00       60.00 24322   Return call to Simple HR legal counsel.

                                                                          Receive and review email correspondence from Kris Williams
4/13/2012   3308.27   JOC            0.30      200.00       60.00 24322   regarding call with in‐house adjuster regarding Simple HR claims.
                                                                          Telephone call with Robet Byerts, counsel for Simple HR regarding
                                                                          lawsuit and issues (.8); attention to follow up on Simple HR call
4/13/2012   3308.27   JOC            1.80      200.00      360.00 24322   (1.0).

                                                                          Begin review and analysis of issues at issue in federal lawsuit
                                                                          brought by Simple HR prior to insolvency and review of judicial
                                                                          opinion by Judge Heaton holding that PHI's repayment obligation
                                                                          on the surplus notes was triggered prior to insolvency and that PEO
4/13/2012   3308.27   GPR            0.60      200.00      120.00 24322   had not direct cause of action against the insurer.
                                                                          Review status of matter, delivery of summons and action to take to
                                                                          move the matter forward in preliminary stages of the filed action
4/16/2012   3308.27   KAW            0.20      200.00       40.00 24322   (.2).
                                                                          Review status of service and pleading deadlines and analysis
4/16/2012   3308.27   JOC            0.20      200.00       40.00 24322   regarding cause of action.
                                                                          Attention to service of process and status of settlement discussions
4/16/2012   3308.27   GPR            0.40      200.00       80.00 24322   with defendant.
                                                                          Telephone call with Assistant Receiver Mark Tharp and Kris
                                                                          Williams regarding Simple HR call for credit and regarding other
4/18/2012   3308.27   JOC            0.80      200.00      160.00 24322   issues (.8).
                                                                          Receive and review email correspondence from Simple attorney
                                                                          Robert Byerts (.20); draft email to Elaine Andrew for proof of
4/19/2012   3308.27   JOC            0.30      200.00       60.00 24322   service (.10).
               Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 2 of 21




                                                             Receive and reply to email correspondence from Robert Byerts
                                                             regarding review of information and extension (.30); draft email
                                                             correspondence to Assistant Receiver Mark Tharp (.20); begin
4/19/2012   3308.27   JOC   0.80   200.00   160.00 24322     review of file responsive to Mr. Byerts (.30).
                                                             Receive and review email correspondence from Simple HR attorney
4/19/2012   3308.27   JOC   0.30   200.00    60.00 24322     Robert Byerts and attention to same.

                                                             Receive and review email correspondence from Kris Williams
4/24/2012   3308.27   JOC   0.40   200.00    80.00 24322     regarding communication from Mr. Lindsley of today.
                                                             Receive and review Notice of Removal of action to the US District
4/26/2012   3308.27   KAW   0.20   200.00    40.00 24322     Court, Western District.
                                                             Receive and review Order, Entry of Appearance of Defendant's
                                                             counsel, Receipt, Motion to Appear Pro Hac Vice, and Notice of
4/26/2012   3308.27   KAW   1.20   200.00   240.00   24322   Related or Companion Case.
4/26/2012   3308.27   GPR   0.40   200.00    80.00   24322   Receive and review multiple notices of intial filings.
4/27/2012   3308.27   KAW   0.20   200.00    40.00   24322   Receive and review Notice of Filing Notice of Removal.
5/1/2012    3308.27   KAW   0.20   200.00    40.00   24270   Receive and review Amended Order for Status Conference.
5/1/2012    3308.27   KAW   0.20   200.00    40.00   24270   Receive and review Order granting admission pro hac vice.
                                                             Receipt and review of communications from Mr. Byert regarding
5/1/2012    3308.27   KAW   0.20   200.00    40.00 24270     case status and Court handling (.2).
                                                             Receive and review Court's Order requiring filing of Joint Status
                                                             Report by Sunday, May 6, with a hearing to be held on May 8 (.2);
                                                             receive and review email correspondence from opposing counsel
5/1/2012    3308.27   GPR   0.40   200.00    80.00 24270     regarding phone conference (.2).
                                                             Receive and review Answer of Pyramid Diversified Services, Inc.
5/2/2012    3308.27   KAW   0.50   200.00   100.00 24270     d/b/a Simple HR.
                                                             Review and attention to email correspondence from Robert Byerts
5/2/2012    3308.27   JOC   0.30   200.00    60.00 24270     regarding conference.

                                                             Receive and review Defendant's Answer and Counterclaim (.4);
                                                             attention to quickly approaching Sunday deadline for filing of a
5/2/2012    3308.27   GPR   0.80   200.00   160.00 24270     Status Report and conference with opposing counsel (.4).
                                                             Multiple communications with Mr. Byerts, counsel for Pyramid,
                                                             regarding Court Order, discovery conference and Joint Status
5/3/2012    3308.27   KAW   0.40   200.00    80.00 24270     Report (.4).

                                                             Receive email correspondence from Robert Byerts with Motion to
                                                             Appear by Telephone at Status Conference (.30); telephone call to
                                                             Robert Byerts regarding appearance and regarding information
                                                             exchange (.30); draft email correspondence to Robert Byerts
                                                             confirming our non‐objection to his appearance by telephone and
                                                             his non‐objection to our appearance by telephone at the Status
                                                             Conference (.30); receive email correspondence from Robert
                                                             Byerts with Defendant's draft Joint Status Report and attention to
5/3/2012    3308.27   JOC   1.20   200.00   240.00 24270     same (.30).
                                                             Receive and review email correspondence from Andrew Downing,
                                                             including review of April 6, 2010 Amended Joint Status Report and
5/3/2012    3308.27   JOC   0.40   200.00    80.00 24270     Discovery Plan; and related emails.

                                                             Review Defendant's proposed Joint Status Report (.4); review
                                                             previous Pyramid litigation docket and Orders in preparation for
                                                             discovery conference with Mr. Byerts (1.1); conduct discovery
                                                             conference with Mr. Byerts and review Joint Status Report issues
                                                             with him (.6); revise proposed Joint Status Report pursuant to
                                                             conference and in accordance with Western District practice and
                                                             rules (.7); review of Skilstaff/Pyramid documents, exhibits and
5/4/2012    3308.27   KAW   3.90   200.00   780.00 24270     Mark Tharp letter (1.1).
                                                             Review of status regarding Status Conference and history of
5/4/2012    3308.27   JOC   0.30   200.00    60.00 24270     communications between Receiver and counsel for PEO.
               Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 3 of 21



                                                           Attention to prioritizing case for production of documents (.1);
                                                           telephone call with Kris Williams regarding priority (.1); analysis of
                                                           claims and issues in pending action (.2); attention to imminent
                                                           deadline for the filing of a Joint status Report and Status
5/4/2012    3308.27   GPR   0.60   200.00   120.00 24270   Conference (.2).
                                                           Communications with Mr. Byerts regarding his filing of the Joint
                                                           Status Report, as promised, and the Court's unusual Sunday
5/6/2012    3308.27   KAW   0.20   200.00    40.00 24270   deadline (.2).
                                                           Receive and review email correspondence from Andrew Downing
5/7/2012    3308.27   JOC   0.30   200.00    60.00 24270   and Andrew Spicher.

                                                           Prepare for and in status conference regarding Complaint filed and
                                                           companion case brought by Simple HR (.8); attention to
5/8/2012    3308.27   GPR   1.20   200.00   240.00 24270   correspondence related to scheduling of mediation (.4).
                                                           Review materials and presents during Court Status Conference and
                                                           post‐conference conference with Keith Wilkes regarding actions
5/9/2012    3308.27   JOC   0.90   200.00   180.00 24270   and mediation.
                                                           Receive and review email correspondence from Simple HR attorney
5/9/2012    3308.27   JOC   0.20   200.00    40.00 24270   regarding mediation.
                                                           Receive and review email correspondence from Simple HR attorney
                                                           Robert Byerts regarding mediation and attention to same (.50);
                                                           draft email correspondence to Robert Byerts regarding mediation
5/10/2012   3308.27   JOC   0.80   200.00   160.00 24270   (.30).
                                                           Attention to mediation, including receive and reply to two email
                                                           correspondence from Robert Byerts and draft email
5/10/2012   3308.27   JOC   0.40   200.00    80.00 24270   correspondence to Mark Tharp.

5/10/2012   3308.27   GPR   0.20   200.00    40.00 24270   Attention to mediation and preparation of mediation statement.

5/11/2012   3308.27   JOC   0.20   200.00    40.00 24270   Telephone call to Paul WIlkening regarding mediation / Rothman.
5/14/2012   3308.27   KAW   0.20   200.00    40.00 24270   Receive and review Order regarding mediation.
5/14/2012   3308.27   KAW   0.80   200.00   160.00 24270   Receive and review Joint Status Report and Discovery Plan.
                                                           Attention to mediation, including receive correspondence from
                                                           Oklahoma Mediation / Arbitration Service, dictate email
                                                           correspondence to Mark Tharp regarding mediation and
                                                           preparation (.30); attention to preparation of mediation statement
5/15/2012   3308.27   JOC   0.50   200.00   100.00 24270   (.20).
                                                           Receive and review email correspondence from Andrew Downing
5/15/2012   3308.27   JOC   0.20   200.00    40.00 24270   with Order.
                                                           Communications from Mr. Byerts and Ms. Williams regarding
5/17/2012   3308.27   KAW   0.30   200.00    60.00 24270   mediation (.3).
                                                           Receive and reply to email correspondence from Simple attorney,
5/17/2012   3308.27   JOC   0.30   200.00    60.00 24270   Robert Byerts.

                                                           Review documents in preparation for telephone conference with
5/17/2012   3308.27   JOC   0.30   200.00    60.00 24270   Simple attorney Byerts and preparation of mediation statement.

5/17/2012   3308.27   JOC   0.30   200.00    60.00 24270   Review of records to determine positions of Simple / Pyramid.
                                                           Attention to collections and allocation of collateral, for purposes of
5/17/2012   3308.27   JOC   0.60   200.00   120.00 24270   collections.
5/17/2012   3308.27   JOC   0.20   200.00    40.00 24270   Review issue in Judge Heaton case.
                                                           Attention to issues regarding assignment of claims from
5/17/2012   3308.27   GPR   0.20   200.00    40.00 24270   PACA/Skilstaff to Simple HR.

                                                           Receive and review email correspondence from Kris Williams
5/21/2012   3308.27   JOC   0.50   200.00   100.00 24270   regarding various issues and attachments / spreadsheet.
5/21/2012   3308.27   JOC   0.60   200.00   120.00 24270   Review Materials

5/21/2012   3308.27   JOC   0.90   200.00   180.00 24270   Telephone call Assistant Receiver Mark Tharp and Kris Williams.
5/22/2012   3308.27   JOC   0.70   200.00   140.00 24270   Review documents in preparation for mediation.
               Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 4 of 21




                                                            Review records and dictate letter to Assistant Receiver Mark Tharp
5/22/2012   3308.27   JOC   0.80   200.00    160.00 24270   regarding investigation and preparation for mediation.
5/23/2012   3308.27   JOC   1.10   200.00    220.00 24270   Telephone call to Robert Byerts regarding multiple issues.
                                                            Receive and review email correspondence from Greg Reilly
5/23/2012   3308.27   JOC   0.30   200.00     60.00 24270   regarding reply to Simple HR's counterclaim.

                                                            Analysis of Order entered after joint status conference with regard
                                                            to holding actions in abeyance until after mediation and formulate
                                                            strategy for extending answer deadline (.4); email correspondence
                                                            with Robert Byerts regarding request to extend reply deadline (.2);
                                                            conduct legal research and prepare Application to Extend Deadline
5/23/2012   3308.27   GPR   2.10   200.00    420.00 24270   for filing Reply (1.5).
                                                            Review notes from call with Robert Byerts and dictate letter to
5/24/2012   3308.27   JOC   1.00   200.00    200.00 24270   Mark Tharp.
                                                            Revise evidence letter to Assistant Receiver Mark Tharp regarding
                                                            mediation preparation and email to Assistant Receiver Mark Tharp
5/28/2012   3308.27   JOC   1.00   200.00    200.00 24270   and Kris Williams.
                                                            Review case status and removal to Western District and manage
5/30/2012   3308.27   KAW   0.30   200.00     60.00 24270   progress of litigation (.3).
                                                            Telephone call with Assistant Receiver Mark Tharp and Kris
5/30/2012   3308.27   JOC   1.00   200.00    200.00 24270   Williams regarding mediation preparation.
                                                            Review materials from Assistant Receiver Mark Tharp regarding
6/4/2012    3308.27   JOC   1.40   200.00    280.00 24550   Pyramid / Simple HR collateral and surplus loan.
6/5/2012    3308.27   JOC   0.30   200.00     60.00 24550   Attention to preparation for mediation.

                                                            Telephone call with Kris Williams regarding overview of Simple HR
                                                            relationship with PACA/Skillstaff and Providence (.3); begin analysis
6/5/2012    3308.27   GPR   1.00   200.00    200.00 24550   of documents for preparation of mediation statement (.7).
                                                            Telephone call with Mark Tharp and Kristine Williams regarding
6/6/2012    3308.27   JOC   0.80   200.00    160.00 24550   mediation.
                                                            Mediation preparation, including review of Simple HR lawsuit
                                                            pleadings and mediation materials from Assistant Receiver Mark
6/6/2012    3308.27   JOC   0.50   200.00    100.00 24550   Tharp.

6/6/2012    3308.27   JOC   0.80   200.00    160.00 24550   Review pleadings from Simpe HR suit, in preparation for mediation.
6/6/2012    3308.27   GPR   4.50   200.00    900.00 24550   Continue analysis and preparation of mediation statement.

6/7/2012    3308.27   JOC   0.30   200.00     60.00 24550   Review of federal case pleasdings and orders in Simple case.
6/7/2012    3308.27   GPR   3.70   200.00    740.00 24550   Continue analysis and preparation of mediation statement
6/8/2012    3308.27   JOC   2.90   200.00    580.00 24550   Mediation Statement.

6/11/2012   3308.27   JOC   1.70   200.00    340.00 24550   Continue review of materials and drafting of Mediation statement.
6/12/2012   3308.27   JOC   1.20   200.00    240.00 24550   Revise draft Mediation Statement.

                                                            Drafting on Mediation Statement, including review of materials
6/12/2012   3308.27   JOC   6.20   200.00   1240.00 24550   frrom Assistant Receiver Mark Tharp and Kris Williams.
                                                            Review of pleadings for potential arguments to include in
                                                            mediation statement (1.5); continue analysis of arguments in draft
6/12/2012   3308.27   GPR   2.70   200.00    540.00 24550   mediation statement (1.2).

                                                            Office conference with Assistant Receiver Mark Tharp to go over
                                                            draft Mediation Statement (.6); office conference with Assistant
                                                            Receiver Mark Tharp and Receivership in‐house Legal Counsel Paul
6/13/2012   3308.27   JOC   1.20   200.00    240.00 24550   Wilkening to discuss mediation strategy and authority (.5).
               Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 5 of 21




                                                            Continue adding material to draft Mediation Statement for
                                                            mediation tomorrow (.4); receive and review email
                                                            correspondence from Kris Williams with comments/additions to
                                                            draft (.3); review Judge Heaton's decision for reference to OID
                                                            approval of surplus notes (.3); review 36 O. S. section 2125
                                                            regarding OID approval of loans (.3); revise draft Mediation
6/13/2012   3308.27   JOC   2.90   200.00    580.00 24550   Statement accordingly (1.6).
                                                            Review Mediation Exhibits, including Surplus Notes and Exhibits 7‐
6/13/2012   3308.27   JOC   1.50   200.00    300.00 24550   25.

                                                            Office conference with Assistant Receiver Mark Tharp and review
                                                            materials for mediation tomorrow, including review email
6/13/2012   3308.27   JOC   3.70   200.00    740.00 24550   correspondence from Robert Byers with documents attached.

                                                            Analysis of Supreme Court opinion regarding the legal position of a
                                                            receiver in an action brought on behalf of the insolvent estate (.2);
                                                            analysis of other authorities regarding necessity of OID approval of
                                                            surplus loans and inability for holder of note to use such amount to
                                                            setoff of any liability owed by the holder (.3); continued strategy
6/13/2012   3308.27   GPR   2.20   200.00    440.00 24550   and preparation for settlement conference (1.7)
                                                            Receipt and review of exhibit with Wayne Starks emails for use in
6/14/2012   3308.27   KAW   0.20   200.00     40.00 24550   the matter (.2).

6/14/2012   3308.27   JOC   0.60   200.00    120.00 24550   Mediation preparation (.5); telephone call from Kris Williams (.1).

                                                            To Mediation with Oklahoma Medation and Arbiration Service
6/14/2012   3308.27   JOC   6.00   200.00   1200.00 24550   Rothman and Simple HR Bill Lindsley and Robert Byerts.

                                                            Attention to discovery and prosecution of case, including office
                                                            conference with Assistant Receiver Mark Tharp to review new
6/14/2012   3308.27   JOC   1.00   200.00    200.00 24550   information learned in mediation from Simpel HR.

6/14/2012   3308.27   JOC   0.30   200.00     60.00 24550   Receive and review email correspondence from Kris Williams.
6/14/2012   3308.27   JOC   0.00   200.00      0.00 24550   Stark regarding Simple collateral.

                                                            Attention to mediation proceedings and information learned
                                                            regarding Defendant's position as well as oral communications
                                                            made between principals of the insurance company and principals
                                                            of Defendant (.6); strategize regarding preparation and contents of
                                                            a report to the Court regarding mediation (.2); strategize regarding
6/14/2012   3308.27   GPR   1.20   200.00    240.00 24550   written and deposition discovery (.4).
                                                            Review case and litigation status and outline next step(s) for
6/15/2012   3308.27   KAW   0.30   200.00     60.00 24550   prosecution of PEO matter (.3).

                                                            Continue analysis of Defendant's existing and anticipated claims
                                                            against the Receiver related to allegations made by the Receiver
                                                            against principals of the insolvent inurance companies for alleged
                                                            theft from policy holders and how such allegations affect the
6/19/2012   3308.27   GPR   0.30   200.00     60.00 24550   Receiver's efforts to collect amounts due from policy holders (.3).
                                                            Prepare Report to the Court regarding mediation (.8); begin
                                                            analysis of counterclaims and preparation of reply to the same
6/20/2012   3308.27   GPR   3.20   200.00    640.00 24550   (2.4).
                                                            Review discovery length issue in consideration of anticipated
6/21/2012   3308.27   KAW   0.30   200.00     60.00 24550   consolidation of cases by Judge Heaton (.3).
6/21/2012   3308.27   JOC   0.20   200.00     40.00 24550   Review status of matter following failed mediation.
                                                            Review status regarding reply to Simple counterclaim (.20); review
                                                            Receiver's Report to the Court regarding mediation (.20); attention
6/21/2012   3308.27   JOC   0.90   200.00    180.00 24550   to scheduling issues (.50).
               Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 6 of 21




                                                           Continue analysis of counterclaims and preparation of reply (2.0);
6/21/2012   3308.27   GPR   2.40   200.00   480.00 24550   analysis regarding time necessary to conduct discovery (.4).

6/22/2012   3308.27   GPR   3.60   200.00   720.00 24550   Continued analysis of counterclaim and preparation of reply.

6/25/2012   3308.27   JOC   0.20   200.00    40.00 24550   Attention to draft status report and reply, as well as remand.
                                                           Attention to need for filing Reply to Counterclaims and Report to
6/25/2012   3308.27   GPR   0.20   200.00    40.00 24550   the Court regarding failed mediation.
                                                           Analysis regarding proposed allegations in status report related to
6/27/2012   3308.27   GPR   0.20   200.00    40.00 24550   confidential settlement communications.

6/28/2012   3308.27   GPR   4.10   200.00   820.00 24550   Continued analysis of Counterclaims and preparation of Reply.
                                                           Finalization of Reply to Counterclaims (3.0); file Reply to
                                                           Counterclaims (.2); revise and file entry of appearance in 2009 case
                                                           (.4); final review and filing of Status Report Regarding Mediation in
6/30/2012   3308.27   GPR   4.00   200.00   800.00 24550   both cases (.4).
                                                           Receive and review Notice from U.S. District Court for the Western
7/2/2012    3308.27   JOC   0.30   200.00    60.00 24686   District of Oklahoma.
                                                           Review litigation status of PEO lawsuit and the next step in the
7/3/2012    3308.27   KAW   0.30   200.00    60.00 24686   prosecution of the same.
                                                           Receive and review Court's Scheduling Order (.2); receive and
                                                           review Chris Thrutchley's incorrect Motion to Withdraw and
7/3/2012    3308.27   GPR   0.40   200.00    80.00 24686   corrected Motion to Withdraw (.2)
                                                           Prepare for meeting with Assistant Receiver to review litigation
7/17/2012   3308.27   KAW   0.20   200.00    40.00 24686   status, strategy and make recommendations.
                                                           Meeting with Assistant Receiver to review case status, prosecution
7/18/2012   3308.27   KAW   0.20   200.00    40.00 24686   issues and strategy.

8/3/2012    3308.27   GPR   0.30   200.00    60.00 25275   Draft memorandum regarding status and tasks to be completed.

                                                           Review Answer and Counterclaims and Proof of Claim to determine
                                                           unique issues raised (.5); update litigation tracking matrix regarding
8/14/2012   3308.27   GPR   0.60   200.00   120.00 25275   unique issues and Proof of Claim filing (.1).
8/24/2012   3308.27   GPR   1.40   200.00   280.00 25275   Preparation of redacted UDS data for production.
                                                           Analysis of case status in preparation for meeting with Judges Davis
                                                           and Parrish (.2); review petition and Summary of Amounts Due
                                                           spreadsheet and revise PEO litigation Matrix to accurately reflect
8/27/2012   3308.27   GPR   0.40   200.00    80.00 25275   amounts due and received (.2).

                                                           Review of attorney fee reports and update Litigation Status
                                                           Tracking Report in preparation for meeting with Judge Davis (.2);
                                                           analysis and revisions to the Application to Reassign cases (.2);
                                                           attention to service of Application including preparation of
8/28/2012   3308.27   GPR   0.60   200.00   120.00 25275   correspondence regarding Application (.2).
                                                           Review litigation status of PEO lawsuit and the next step in the
9/4/2012    3308.27   KAW   0.30   200.00    60.00 25927   prosecution of the same.
9/12/2012   3308.27   JOC   0.40   200.00    80.00 25927   Analysis regarding remand and preparation of discovery.
                                                           Attention to updating of litigation tracking spreadsheet to reflect
                                                           current status of action (.1); strategize regarding tasks to be
9/12/2012   3308.27   GPR   0.20   200.00    40.00 25927   completed to move litigation forward (.1).
9/16/2012   3308.27   GPR   0.40   200.00    80.00 25927   Prepare strategic 30‐day plan for advancing litigation (.4).
                                                           Prepare and review email correspondence related strategic plan for
9/17/2012   3308.27   GPR   0.20   200.00    40.00 25927   approval and comment (.2).
                                                           Review litigation status of PEO lawsuit and the next step in the
9/20/2012   3308.27   KAW   0.30   200.00    60.00 25927   prosecution of the same.
                                                           Review litigation status of PEO lawsuit and the next step in the
10/3/2012   3308.27   KAW   0.60   200.00   120.00 25732   prosecution of the same.
                                                           Review litigation status of PEO lawsuit and the next step in the
10/23/2012 3308.27    KAW   0.30   200.00    60.00 25732   prosecution of the same.
                Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 7 of 21



10/23/2012 3308.27     JOC   0.40   200.00     80.00 25732     Attention to initiation of discovery.
                                                               Overview of status of action and priority position on propounding
10/23/2012 3308.27     GPR   0.20   200.00     40.00 25732     written discovery.

                                                               Update status tracking report with recent activity and next steps in
10/25/2012 3308.27     GPR   0.20   200.00     40.00 25732     litigation in preparation for meeting with Judge Davis.
                                                               Review litigation status of PEO lawsuit and the next step in the
11/1/2012    3308.27   KAW   0.30   200.00     60.00 26118     prosecution of the same.
                                                               Continue review of relevant documents and work on preparation of
11/13/2012 3308.27     GPR   1.60   200.00    320.00 26118     discovery requests.
                                                               Review litigation status of PEO lawsuit and the next step in the
11/15/2012 3308.27     KAW   0.30   200.00     60.00 26118     prosecution of the same.
                                                               Review status regarding response to motion to reassign and for
                                                               partial consolidation and discovery draft due by Monday,
11/20/2012 3308.27     JOC   0.20   200.00     40.00 26118     November 26, 2012.
                                                               Overview of status and strategize regarding finalization of draft
11/20/2012 3308.27     GPR   0.20   200.00     40.00 26118     discovery.
                                                               Update and restructure Litigation Tracking status update with new
                                                               developments (.2); prepare plan for action to be taken in the next
11/26/2012 3308.27     GPR   0.40   200.00     80.00 26118     thirty days (.2).

                                                               Continue review of pleadings and documents (2.0); continue
11/28/2012   3308.27   GPR   4.00   200.00    800.00   26118   preparation of discovery requests to Simple HR (2.0).
11/30/2012   3308.27   GPR   2.00   200.00    400.00   26118   Continue work on discovery requests.
12/6/2012    3308.27   KAW   0.30   200.00     60.00   26613   Receive and review Revised Scheduling Order.
12/6/2012    3308.27   GPR   0.20   200.00     40.00   26613   Receive and review court's amended Scheduling Order.
                                                               Receive and review Plaintiffs First Requests for Produc on of
                                                               Documents to Defendant Providence Property & Casualty
12/11/2012 3308.27     KAW   0.30   200.00     60.00 26613     Insurance Co.
                                                               Review litigation status of PEO lawsuit and the next step in the
12/12/2012 3308.27     KAW   0.30   200.00     60.00 26613     prosecution of the same.
12/12/2012 3308.27     JOC   0.10   200.00     20.00 26613     Review status regarding consolidation and discovery.

                                                               Strategize regarding litigation status and tasks to be accomplished
                                                               (.2); update litigation status tracking spreadsheet, including stated
12/12/2012 3308.27     GPR   0.40   200.00     80.00 26613     deadlines on tasks to be accomplished for provision to client (.2).
                                                               Continue analysis of documents and pleadings and prepare
12/14/2012 3308.27     GPR   6.00   200.00   1200.00 26613     discovery requests.
                                                               Receive and review Defendants First Requests for Produc on of
                                                               Documents to Plaintiff State of Oklahoma, ex rel. John Doak
                                                               Insurance Commissioner, as Receiver fro Park Avenue Property &
12/17/2012 3308.27     KAW   1.00   200.00    200.00 26613     Casualty Insurance Company.

                                                               Receive and review requests for production from Simple HR in both
                                                               cases (.9); correspondence with Kris Williams regarding Requests
                                                               for Production and Initial Disclosures in the 2009 lawsuit (.3);
                                                               conduct research for initial disclosures provided by the company in
                                                               the 2009 lawsuit (.4); telephone call with Kris Williams with
12/17/2012 3308.27     GPR   3.00   200.00    600.00 26613     detailed review of Simple HR discovery requests(1.4).

                                                               Continue analysis of documents and pleadings and prepare and
                                                               revise discovery requests (4.2); prepare correspondence to Kris
12/20/2012 3308.27     GPR   4.50   200.00    900.00 26613     Williams regarding draft and request feedback (.3).
                                                               Continued investigation into Employer Services Assurance
                                                               Company including telephone call to General Counsel Jay Morgan
                                                               regarding indemnity protection and request for investigation of
                                                               whether PEO was a member and covered under indemnity
12/28/2012 3308.27     GPR   0.20   200.00     40.00 26613     protection program.
               Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 8 of 21




                                                           Review documents to determine years when policies were in place
                                                           and prepare correspondence to Jay Morgan, Employer Services
                                                           Assurance Company, requesting a cross reference of PEO against
12/31/2012 3308.27    GPR   0.20   200.00    40.00 26613   current and former accredited PEOs.
                                                           Review scheduling order (.1); telephone call to Robert Byerts
                                                           regarding need for additional time to respond to discovery
                                                           requests (.2); receive and review email from Kris Williams regarding
1/4/2013    3308.27   GPR   1.20   200.00   240.00 26682   comments on discovery.

                                                           Review and analyze comments of Kris Williams related to discovery
                                                           requests (.2); revise discovery requests to include requests related
                                                           to issues addressed by Ms. Williams (.6); receive and review email
                                                           correspondence from Robert Byerts regarding proposal to extend
                                                           all deadlines (.2); prepare correspondence to Kris Williams and
                                                           Mark Tharp regarding revised discovery and proposal to extend
1/7/2013    3308.27   GPR   1.40   200.00   280.00 26682   deadlines (.4).
                                                           Review litigation status of PEO lawsuit and the next step in the
1/9/2013    3308.27   KAW   0.30   200.00    60.00 26682   prosecution of the same.

                                                           Attention to written discovery deadline extension and Simple HR's
                                                           request to extend all deadlines by 120 days (.4); multiple telephone
                                                           calls with Robert Byerts regarding the same (.4); telephone call
                                                           with Mark Tharp regarding proposed extension (.2);
                                                           correspondence with Kris Williams and Mark Tharp regarding
                                                           extensions and regarding finalization of discovery requests to
1/10/2013   3308.27   GPR   1.40   200.00   280.00 26682   Simple HR (.4)
                                                           Receive and review correspondence from the office of Robert
1/11/2013   3308.27   GPR   0.20   200.00    40.00 26682   Byerts and draft motion for new scheduling order.

                                                           Receive and review draft Motions and Orders to extend scheduling
                                                           order deadlines (.4); correspondence with Robert Byerts regarding
                                                           drafts and revisions (.2); attention to finalization and transmittal of
1/14/2013   3308.27   GPR   0.80   200.00   160.00 26682   discovery requests to Simple HR (.2).

1/15/2013   3308.27   JOC   0.20   200.00    40.00 26682   Review status regarding discovery production / responses due.
                                                           Correspondence with Robert Byerts regarding agreement on timing
1/18/2013   3308.27   GPR   0.60   200.00   120.00 26682   of discovery production.
1/18/2013   3308.27   GPR   0.20   200.00    40.00 26682   Update litigation status matrix with status and next steps.

                                                           Receive and review correspondence from Kris Williams regarding
                                                           document production and an example of privileged communication
                                                           (.2); analysis of strategies for handling (.2); prepare
1/28/2013   3308.27   GPR   0.60   200.00   120.00 26682   correspondence to Ms. Williams regarding potential solution (.2).
                                                           Review litigation status of PEO lawsuit and the next step in the
1/31/2013   3308.27   KAW   0.30   200.00    60.00 26682   prosecution of the same.
2/4/2013    3308.27   GPR   0.20   200.00    40.00 27174   Overview of status of pending actions and next steps.

2/7/2013    3308.27   GPR   0.20   200.00    40.00 27174   Update PEO Litigation Tracking Matrix for forwarding to client.
                                                           Review correspondence from attorney Robert Byerts regarding
2/11/2013   3308.27   JOC   0.30   200.00    60.00 27174   status and scheduling orders.
                                                           Receive and review correspondence from Kris Williams regarding
                                                           document production project and attachments that included lists
2/11/2013   3308.27   GPR   0.30   200.00    60.00 27174   and categories of responsive documents.
                                                           Prepare for case review update. (split between Park Avenue and
2/12/2013   3308.27   KAW   0.10   200.00    20.00 27174   Imperial)
2/14/2013   3308.27   PHK   0.10   200.00    20.00 27174   Work on litigation strategy.
                                                           Review litigation status of PEO lawsuit and the next step in the
2/14/2013   3308.27   KAW   0.20   200.00    40.00 27174   prosecution of the same.
               Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 9 of 21



                                                            Review status and attention to production responses due February
2/14/2013   3308.27   JOC   0.60   200.00    120.00 27174   21,2013.

2/14/2013   3308.27   GPR   0.20   200.00     40.00 27174   Overview of status of matter and litigation tasks to be completed.

                                                            Update litigation tracking report with current information in
                                                            preparation for conference with Judge Davis (.2); correspondence
2/18/2013   3308.27   GPR   0.40   200.00     80.00 27174   with Robert Byerts regarding timing of discovery production (.2).

                                                            Organize documents and prepare memoranda regarding insurance
                                                            proposals, breakdown of amounts due, actuary reports, and
2/19/2013   3308.27   GPR   0.40   200.00     80.00 27174   surplus loan issues with respect to pending litigation.
                                                            Attention to preparation of Responses to Requests for Documents
2/20/2013   3308.27   GPR   0.50   200.00    100.00 27174   and clawback agreement.
                                                            Review of documents and preparation of responses to Requests for
2/21/2013   3308.27   GPR   8.70   200.00   1740.00 27174   Production of Documents.
                                                            Research and analyze requirements for protective order with
                                                            regard to the production of protected health information pursuant
                                                            to HIPAA (1.0); prepare clawback provision (.5); prepare proposed
2/22/2013   3308.27   GPR   2.50   200.00    500.00 27174   Protective Order (1.0).

                                                            Continue review of documents and preparation of Responses to
                                                            Request to Production of Documents (6.0); prepare transmittal
                                                            correspondence to Robert Byerts including Responses to Requests
                                                            for Production of Documents and proposed Protective Order (.6);
2/23/2013   3308.27   GPR   7.30   200.00   1460.00 27174   strategize regarding preparation of production of documents (.7).

                                                            Correspondence with Robert Byerts regarding delivery of
                                                            production documents (.3); strategize regarding production (.2);
2/25/2013   3308.27   GPR   0.70   200.00    140.00 27174   finalize and transmit Responses to Requests for Production (.2).

                                                            Receive and review Robert Byert's proposed revisions to the
                                                            Confidentiality Agreement and Protective Order (.4); revise draft
                                                            Confidentiality Agreement and Protective Order (.6); prepare
                                                            correspondence to Mr. Byerts regarding revisions and regarding
                                                            delivery of written Responses to Simple HR's Requests for
2/27/2013   3308.27   GPR   1.40   200.00    280.00 27174   Production and status of delivery of documents (.4).

                                                            Receive and review correspondence from Robert Byerts regarding
                                                            revisions especially regarding destruction or return of documents
                                                            at the conclusion of the case (.2); attention to status of written
                                                            Responses to Simple HR's Requests for Production (.2); strategize
                                                            regarding preparation of documents for delivery (.6); continue
2/28/2013   3308.27   GPR   3.20   200.00    640.00 27174   review of potentially privileged emails (2.2).
                                                            Memo to Pat Kernan regarding document production to Simple HR
                                                            (.2); attention to preparation of documents for production (.8);
                                                            prepare correspondence to Robert Byerts regarding status of
3/1/2013    3308.27   GPR   1.20   200.00    240.00 27471   production (.2).
3/4/2013    3308.27   PHK   0.50   200.00    100.00 27471   Work on Confidentiality Agreement and Protective Order
                                                            Work on production of documents in response to discovery
3/4/2013    3308.27   PHK   0.30   200.00     60.00 27471   requests
                                                            Preparation of Joint Moiton to Enter Confidentiality Agreement and
3/5/2013    3308.27   PHK   0.50   200.00    100.00 27471   Protective Order

3/5/2013    3308.27   PHK   0.50   200.00    100.00 27471   Work on production of documents in response to Defendants RFP
                                                            Work on production of data to be produced in response to RFP
3/6/2013    3308.27   PHK   0.50   200.00    100.00 27471   submitted by Defendant
3/6/2013    3308.27   JOC   0.30   200.00     60.00 27471   Work on prepayment credit calculation.
              Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 10 of 21




                                                             Forward Notice of Filing Joint Motion for Protective Order by Park
3/7/2013    3308.27   JOC   0.20   200.00    40.00 27471     Avenue and Pyramid to Assistant Receiver Mark Tharp.

3/18/2013   3308.27   PHK   1.00   200.00   200.00 27471     work on response to Robert Byers regarding discovery responses

                                                             Work on complete file review and evaluation of scheudling order to
                                                             determine action needed to comply with same, and completion of
3/19/2013   3308.27   PHK   2.00   200.00   400.00   27471   discovery responses by Receiver to Defendant
3/20/2013   3308.27   JOC   0.30   200.00    60.00   27471   Attention to prosecution of case and scheduling order.
3/21/2013   3308.27   PHK   1.00   200.00   200.00   27471   Simple hr ‐ work on discovery responses for Plaintiff
3/21/2013   3308.27   JOC   0.20   200.00    40.00   27471   Review revised Scheduling Order.
                                                             Correspondence to Robert Byerts regarding his demand for
3/22/2013   3308.27   PHK   0.40   200.00    80.00 27471     additional discovery from Plaintiff

                                                             Receive and review correspondence regarding receipt of
3/22/2013   3308.27   GPR   0.20   200.00    40.00 27471     documents and request for determination of completeness.

                                                             Attention to production of documents in response to Simple HR's
                                                             Requests for Production, including request from Robert Byerts to
                                                             confirm production is complete and notice of potential deficiency
                                                             (.6); attention to overall status of action including litigation pending
3/25/2013   3308.27   GPR   1.20   200.00   240.00 27471     prior to insolvency (.6).

3/25/2013   3308.27   GPR   0.30   200.00    60.00 27471     Attention to the preparation of discovery requests to Simple HR.
                                                             Correspondence with Robert Byerts regarding document
3/26/2013   3308.27   GPR   0.40   200.00    80.00 27471     production and potential deficiencies.
4/4/2013    3308.27   JOC   0.40   200.00    80.00 27981     Attention to litigation strategy and case management.

                                                             Strategize regarding discovery tasks to be completed and timing,
                                                             including expected responses to discovery requests, preparation of
                                                             privilege log, and categories of documents and topics to cover in
4/4/2013    3308.27   GPR   1.60   200.00   320.00 27981     the deposition of Simple HR's 30(b)(6) witnesses.

                                                             Attention to case management to comply with scheduling order
                                                             deadlines (.5); draft email correspondence to Defendant attorney
                                                             Robert Byerts regarding 30(b)(6) deposition schedule (.5); work on
4/5/2013    3308.27   PHK   1.50   200.00   300.00 27981     subject matters to be covered in 30(b)(6) deposition (.5).
                                                             Attention to preparation and timing of deposition of the corporate
4/5/2013    3308.27   GPR   0.60   200.00   120.00 27981     representative of Simple HR.
                                                             Attention to finalization and transmission of a draft Rule 30(b)(6)
4/8/2013    3308.27   GPR   0.40   200.00    80.00 27981     Notice of Deposition to opposing counsel.

                                                             Attention to finalization and transmittal of draft Notice of
                                                             Deposition of Simple HR's corporate representative (.4); receive
4/14/2013   3308.27   GPR   0.60   200.00   120.00 27981     and review correspondence related to deposition (.2).
                                                             Attention to draft email correspondence to Defendant attorney
                                                             Robert Byerts regarding discovery issues related to 30(b)(6) Notice
                                                             and deposition (.7); email correspondence from Byerts regarding
4/15/2013   3308.27   PHK   1.00   200.00   200.00 27981     same (.3).
                                                             Meeting with Mark Tharp, Kris Williams, Matt Merlino, and Pat
                                                             Kernan to analyze calculation and purpose of IBNR and effect of
4/18/2013   3308.27   GPR   0.20   200.00    40.00 27981     adjustment of the same with most recent data.
                                                             Receive and review Simple HR's Responses to the Receiver's
4/19/2013   3308.27   GPR   0.60   200.00   120.00 27981     Discovery Requests.
                                                             Review email correspondence from attorney Byerts regarding
4/30/2013   3308.27   JOC   0.30   200.00    60.00 27981     deposition and attention to same.
              Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 11 of 21




                                                           Receive and review correspondence from Robert Byerts regarding
                                                           scheduling of the 30(b)(6) deposition of Simple HR and strategize
                                                           regarding location of deposition (.4); continue review of Simple
4/30/2013   3308.27   GPR   0.60   200.00   120.00 27981   HR's responses to discovery requests (.2).
                                                           Telephone conference with attorney Robert Byerts regarding 30b6
5/3/2013    3308.27   PHK   0.50   200.00   100.00 28059   scope of notice and scheduling of 30b6

                                                           Conduct legal research and analysis regarding proper location of
5/3/2013    3308.27   GPR   1.40   200.00   280.00 28059   the deposition of the 30(b)(6) representative of a corporate party.
                                                           Telephone conference with attorney Robert Byerts regarding
                                                           discovery compliance and discovery schedule (.75); attention to
                                                           email correspondence from Byerts regarding objections to Notice
                                                           to Take 30b6 Deposition and related matters; response to Byerts
5/7/2013    3308.27   PHK   2.00   200.00   400.00 28059   (1.25)
5/7/2013    3308.27   JOC   0.30   200.00    60.00 28059   Review status regarding discovery dispute and schedule.

                                                           Telephone conference with Pat Kernan and Robert Byerts regarding
                                                           depositions of Simple HR's corporate representative, Mark Tharp
                                                           and Matthew Merlino (.6); overview of facts and causes of action
                                                           (.6); analysis regarding permissible scope of examination of a
                                                           30(b)(6) witness for a party (.2); receive and review
                                                           correspondence from Mr. Byerts regarding deposition scheduling
5/7/2013    3308.27   GPR   1.60   200.00   320.00 28059   and position on scope of a 30(b)(6) deposition (.2).
                                                           Receive and review memorandum regarding the scope of
                                                           permissible testimony of a corporate representative, especially as
                                                           it concerns testimony related to the legal basis for any particular
5/8/2013    3308.27   GPR   0.20   200.00    40.00 28059   claim or defense.
                                                           Correspondence with Kris Williams regarding status of setting up
5/10/2013   3308.27   GPR   0.20   200.00    40.00 28059   depositions.

                                                           Receive and analyze revised draft Merlinos & Associates report
                                                           showing reduction of ultimate loss (.2); prepare memorandum
5/24/2013   3308.27   GPR   0.40   200.00    80.00 28059   regarding findings and implication for PEO lawsuits (.2).
                                                           Review and follow up regarding issuance of discovery and
6/5/2013    3308.27   JOC   0.30   200.00    60.00 28305   depositions.
                                                           Receive and review email correspondence and Judge White
                                                           decision regarding 30(b)(6) deposition notice and preparation of
6/5/2013    3308.27   JOC   0.30   200.00    60.00 28305   30(b)(6) corporate witness.
                                                           Attention to coordination of discovery tasks and telephone calls
                                                           and correspondence with opposing counsel regarding the same
                                                           (1.2); analysis of updated projections of ultimate loss and potential
6/5/2013    3308.27   GPR   1.60   200.00   320.00 28305   implications for collection (.4).
                                                           Continued attention to preparation for corporate representative
6/6/2013    3308.27   GPR   0.60   200.00   120.00 28305   depositions.
                                                           Attention to preparation for depositions of corporate
6/10/2013   3308.27   GPR   0.60   200.00   120.00 28305   representatives.
                                                           Attention to preparation of actuary expert report and use of Brett
                                                           Miller as designated expert (.4); telephone call with Matt Merlino
6/11/2013   3308.27   GPR   0.60   200.00   120.00 28305   and Brett Miller regarding the same (.2).
                                                           Correspondence from and to defense attorney Robert Byerts
                                                           regarding scope of 30b6 deposition and deposition schedule and
6/12/2013   3308.27   PHK   1.00   200.00   200.00 28305   respond thereto (1)
                                                           Attention to discovery status and strategy, including receipt and
6/12/2013   3308.27   GPR   0.40   200.00    80.00 28305   review of correspondence related to the same.
                                                           Telephone call with Kris Williams regarding preparation of expert
6/13/2013   3308.27   GPR   0.20   200.00    40.00 28305   report of Mark Tharp.
              Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 12 of 21



                                                            Attention to the finalization and transmittal of expert report of
                                                            Brett Miller (.6); receive and review expert report of Mark Tharp
                                                            (.8); attention to the finalization and transmittal of the expert
                                                            report of Mark Tharp and exhibits (.6); prepare Final List of Expert
6/17/2013   3308.27   GPR   2.80   200.00    560.00 28305   Witnesses (.8).

                                                            Analysis of Revised Actuary Report of Matt Merlino and Revised
                                                            Summary of Amounts Due Report accounting for revised
                                                            deductibles due and credit for GIM charges, and analyze any
                                                            potential changes in litigation strategy as a result (.4); update
                                                            litigation status tracking matrix especially regarding major
                                                            developments in litigation as trial date approaches. (.6). (Split
6/17/2013   3308.27   GPR   1.00   200.00    200.00 28305   between Park Avenue and Imperial).
                                                            Review of documents produced by Simple HR for purposes of
6/21/2013   3308.27   GPR   3.00   200.00    600.00 28305   preparing Final Witness and Exhibit List.

                                                            Continue review of documents in preparation for list of exhibits
6/24/2013   3308.27   GPR   2.60   200.00    520.00 28305   and deposition of Simple HR's corporate representative.
                                                            Work on discovery disputed with defense attorney Robert Byerts
                                                            regarding scope of 30(b)(6) testimony of Mark Tharpe and his
6/25/2013   3308.27   PHK   1.00   200.00    200.00 28305   expert witness testimony.
6/25/2013   3308.27   JOC   0.30   200.00     60.00 28305   Review status regarding depositions of assistant receiver.

                                                            Attention to deposition of Receiver's witnesses, including analysis
6/25/2013   3308.27   GPR   1.00   200.00    200.00 28305   of request for separate deposition of Mark Tharp as expert.
                                                            Work on discovery disputes with counsel for defendant;
                                                            correspondence to and from Mark Tharp regarding 30(b)(6) and
6/26/2013   3308.27   PHK   1.00   200.00    200.00 28305   expert witness deposition.

                                                            Analysis regarding request by Robert Byerts for identification of
                                                            witness to authenticate documents or alternatively a stipulation as
                                                            to authenticity and recommended response requesting mutual
                                                            stipulations (.4); continue review of documents for exhibit list and
                                                            deposition of Simple HR's corporate representative (6.0). (Split
6/26/2013   3308.27   GPR   6.40   200.00   1280.00 28305   between Park Avenue and Imperial).

                                                            Review and analyze four notices to take deposition of receiver
                                                            Mark Tharp as 30(b)(6) witness and as expert witness and
                                                            depositions for expert witness Brett Miller (1.5); telephone
                                                            conference and correspondence with Mark Tharp regarding these
                                                            depositions and related matters (.5); correspondence to defendant
6/27/2013   3308.27   PHK   2.50   200.00    500.00 28305   attorney Robert Byerts regarding depositions (.5)

                                                            Telephone call with Mark Tharp regarding use of Brett Miller as
                                                            actuary expert and other discovery issues (.4); review of deposition
6/27/2013   3308.27   GPR   0.60   200.00    120.00 28305   notices and correspondence to Mark Tharp regarding the same (.2).
                                                            Revision of 30b6 Notice to Take Deposition of Defendant and
                                                            review and analysis of subject matters provided by Defendant for
6/28/2013   3308.27   PHK   2.50   200.00    500.00 28305   Receiver's 30b 6 deposition
                                                            Work on discovery matters with defense attorney Robert Byerts
                                                            regarding scope of 30b6 depositions, stipulations regarding
6/28/2013   3308.27   PHK   1.00   200.00    200.00 28305   authenticity of documents, and related matters
                                                            Revisions and finalization of Notice of Deposition for the corporate
                                                            representative of Simple HR (2.0); review of document, pleadings,
                                                            and written discovery for purposes of finalizing Notice of
                                                            Deposition, deposition outline, and exhibits (1.4); begin
                                                            preparation of outline of deposition examination of corporate
                                                            representative (1.0); continue review of documents for potential
6/28/2013   3308.27   GPR   5.00   200.00   1000.00 28305   exhibits (.6).
              Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 13 of 21



                                                            Continue review of documents and preparation of Witness and
6/30/2013   3308.27   GPR   4.80   200.00    960.00 28305   Exhibit Lists.
                                                            Work on preparation for 30b6 depositions, and work on final
7/1/2013    3308.27   PHK   6.00   200.00   1200.00 28808   witness and exhibit lists.
                                                            Continue review of documents and preparation of Final Witness
                                                            and Exhibit Lists (5.0); finalize and file Final Witness and Exhibit
                                                            Lists (1.5); review and analysis of areas of discovery for the
                                                            deposition of Mark Tharp (.5); receive and review Final Witness and
7/1/2013    3308.27   GPR   7.20   200.00   1440.00 28808   Exhibit List of Simple HR (.2).


                                                            Analysis of exhibits listed by Defendant (.75); correspondence to
                                                            and from defense counsel regarding production of Defendant
                                                            exhibits (.5); preparation of amended notice to take deposition and
                                                            correspondence to defense counsel (.5); correspondence to Mark
                                                            Tharp and Pam Moore regarding location of documents listed as
                                                            exhibits by Defendant (.4); extended telephone confererence with
                                                            Mark Tharp and Pam Moore regarding areas of inquiry listed by
7/2/2013    3308.27   PHK   3.15   200.00    630.00 28808   Defendant in its 30(b)(6) notice (1.00).

                                                            Telephone call with Mark Tharp and Pam Moore regarding topics
                                                            and preparation for the deposition of Mr. Tharp (1.4); begin
                                                            organization of documents as potential exhibits for the deposition
                                                            of Simple HR's corporate representative and trial, including location
7/2/2013    3308.27   GPR   3.40   200.00    680.00 28808   of files produced by PACA, Inc. (2.0).

                                                            Work on discovery disputes with defense attorney Robert Byerts
7/3/2013    3308.27   PHK   2.00   200.00    400.00 28808   (1.0); prepration for 30(b)(6) deposition of defendant (1.0)

                                                            Review and prepare exhibits for deposition and trial; transmittal of
                                                            documents to opposing counsel (5.4); attention to various matters
7/3/2013    3308.27   GPR   6.00   200.00   1200.00 28808   regarding depositions and other discovery matters (.6).
                                                            Prepare for 30(b)(6) deposition by review and analysis of
7/5/2013    3308.27   PHK   3.00   200.00    600.00 28808   documents produced by all parties.

7/5/2013    3308.27   GPR   0.20   200.00     40.00 28808   Attention to status of action and preparation of status update.
                                                            Continue preparation for deposition of corporate representative of
                                                            Simple HR, including location and review of additional documents
                                                            (2.4); attention to preparation for the anticipated deposition of
7/5/2013    3308.27   GPR   3.00   200.00    600.00 28808   Wayne Stark (.6)
                                                            Study of documents and correspondence in preparation for the
7/7/2013    3308.27   GPR   3.00   200.00    600.00 28808   deposition of corporate representative of Simple HR.

                                                            Work on preparation for defendant 30(b)(6) deposition and the
                                                            deposition of Wayne Stark (2.00); attention to preparation of
                                                            objection to notice to take deposition of Wayne Stark (.75);
                                                            correspondence to and from Robert Byerts regarding issues related
7/8/2013    3308.27   PHK   3.25   200.00    650.00 28808   to Wayne Stark deposition (.5).
                                                            Attention to court approval of settlement agreement. (Split
7/8/2013    3308.27   PHK   0.10   200.00     20.00 28808   between Park Avenue and Imperial).
                                                            Telephone call with Paul Wilkening regarding depositions and
7/8/2013    3308.27   JOC   0.40   200.00     80.00 28808   status.
                                                            Review status regarding use of deposition of Wayne Stark in
                                                            subsequent trial and adequate time allocation for cross
7/8/2013    3308.27   JOC   0.40   200.00     80.00 28808   examination.
              Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 14 of 21




                                                             Attention to the deposition of Brett Miller, Wayne Stark, Mark
                                                             Tharp, and Monika Reitz (1.6); continued attention and preparation
                                                             for exhibits for trial and deposition of corporate representative of
                                                             Simple HR (1.0); continue preparation for the deposition of Simple
                                                             HR's corporate representative (1.4); analysis and begin preparation
                                                             of objection to the deposition of Wayne Stark (.8); prepare
                                                             memorandum regarding Notice of Deposition of Wayne Stark and
7/8/2013    3308.27   GPR    5.20   200.00   1040.00 28808   court's requirements for filing of objection (.4).
                                                             Analysis of status and strategic planning for next steps to take in
7/8/2013    3308.27   GPR    0.20   200.00     40.00 28808   litigation.
                                                             Preparation for 30(b)(6) deposition of Defendant (2 hours);
                                                             telephone conference and correspondence to defendant attorney
                                                             Robert Byerts regarding issues related to the Wayne Stark
7/9/2013    3308.27   PHK    2.50   200.00    500.00 28808   deposition (.5).
                                                             Preparation of Notice of Deposition of Wayne Stark to be recorded
                                                             by video (.8); continue preparation for deposition of Simple HR's
7/9/2013    3308.27   GPR    3.80   200.00    760.00 28808   corporate representative (3.0).
                                                             Preparation for deposition of Wayne Stark, Mark Tharp, Brett
                                                             Miller, and Monika Reitz by review of key documents produced in
                                                             discovery and analysis of opinion issued by Judge Heaton on
7/10/2013   3308.27   PHK   10.00   200.00   2000.00 28808   surplus loan.

                                                             Continue preparation for deposition of Simple HR's corporate
                                                             representative, including preparation of additional documents to
7/10/2013   3308.27   GPR   10.00   200.00   2000.00 28808   be introduced and documentary research.
                                                             Preparation for and attendance at deposition of Simple HR 30(b)(6)
7/11/2013   3308.27   PHK   10.00   200.00   2000.00 28808   witness Bill Lindsley.
                                                             Final preparation and in deposition of Simple HR's corporate
7/11/2013   3308.27   GPR   10.00   200.00   2000.00 28808   representative, Bill Lindsley.
                                                             Analysis of 30(b)(6) witness Bill Lindsley testimony and preparation
7/12/2013   3308.27   PHK    8.00   200.00   1600.00 28808   for deposition of witness Wayne Stark.
                                                             Analysis of testimony at deposition of Bill Lindsley and preparation
                                                             of memoranda to Mark Tharp and Brett Miller regarding expected
                                                             lines of questioning regarding, among other things, open claim
                                                             reserves and calculation of IBNR (3.0); begin analysis and
                                                             preparation of Statement of Material Facts for Motion for
                                                             Summary Judgment (2.6); attention to the deposition of Monika
7/12/2013   3308.27   GPR    6.00   200.00   1200.00 28808   Reitz (.4).
7/14/2013   3308.27   GPR    5.00   200.00   1000.00 28808   Preparation for the deposition of Wayne Stark.

                                                             Attendance at meeting with Pegasas receiver Terry Smith to discuss
                                                             issues related to Wayne Stark (1 hour); preparation for Wayne
                                                             Stark deposition by review and analysis of prior allegations made in
                                                             the 2009 litigation involving PACA and Wayne Stark, review of
                                                             critical emails, and related agreements among SimpleHR, PACA, PHI
7/15/2013   3308.27   PHK    6.00   200.00   1200.00 28808   and PPC (5 hours).

                                                             Meeting with Terry Smith regarding Wayne Stark in preparation for
                                                             deposition (1.2); prepare correspondence to Mr. Smith regarding
                                                             draft assignment of collateral and claims for review and comment
                                                             by John Ratzel (.4); continued attention and preparation for the
                                                             deposition of Wayne Stark including coordination of pleadings and
                                                             other filings involving PACA/Skilstaf (1.0); review of Simple HR's
                                                             Witness and Exhibit List (.4); prepare and file Witness and Exhibit
                                                             List (.8); attention to the preparation of Monika Reitz for
                                                             deposition (.4); telephone call with Brett Miller regarding
                                                             deposition and testimony regarding open claims and development
7/15/2013   3308.27   GPR    4.60   200.00    920.00 28808   factors (.4).
              Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 15 of 21




                                                             Preparation for deposition of witness Wayne Stark by detalied
                                                             review and analysis of all relevant documents, including pleadings
                                                             in the prior 2009 litigation and all discovery responses as well as
7/16/2013   3308.27   PHK    8.00   200.00   1600.00 28808   key documents from the insurer.
                                                             Continue preparation for deposition of Wayne Stark including
                                                             strategic review of pleadings and identification of exhibits to
7/16/2013   3308.27   GPR    9.00   200.00   1800.00 28808   introduce.
7/17/2013   3308.27   PHK   10.00   200.00   2000.00 28808   Continued preparation for deposition of Wayne Stark.
7/17/2013   3308.27   GPR   10.00   200.00   2000.00 28808   Continued preparation for the deposition of Wayne Stark.
                                                             Preparation for deposition of Wayne Stark and cross examination
7/18/2013   3308.27   PHK   10.00   200.00   2000.00 28808   of Wayne Stark at deposition.
                                                             In deposition of Wayne Stark (8.0); Review and analysis of
                                                             testimony and effect on litigation, including telephone call with Kris
7/18/2013   3308.27   GPR    9.00   200.00   1800.00 28808   Williams (1.0).
7/19/2013   3308.27   PHK    6.00   200.00   1200.00 28808   Attention to the deposition of Wayne Stark.
7/19/2013   3308.27   GPR    6.00   200.00   1200.00 28808   Attention to the deposition of Wayne Stark.

                                                             Receive and review draft Motion to Extend Dispositive Motion and
                                                             Daubert Motion Deadlines (.4); correspondence with Robert Byerts
7/22/2013   3308.27   GPR    0.60   200.00    120.00 28808   regarding the same (.2).

                                                             Conference with Assistant Receiver Mark Tharp and Pat Kernan
7/23/2013   3308.27   JOC    0.30   200.00     60.00 28808   during expert witness deposition regarding examination.
7/24/2013   3308.27   PHK    4.00   200.00    800.00 28808   Preparation of Mark Tharp for receiver 30(b)(6) deposition
                                                             Preparation for Deposition of Mark Tharp as corporate
7/24/2013   3308.27   GPR    5.00   200.00   1000.00 28808   representative.

7/25/2013   3308.27   PHK   10.00   200.00   2000.00 28808   Preparation for and attendance at 30 b 6 deposition of Mark Tharp
                                                             In deposition of Mark Tharp as corporate representative (7.0);
                                                             preparation for deposition of Mark Tharp as expert (.6); strategize
                                                             regarding business shutdown of Pyramid Diversified Services and
                                                             conduct investigation into corporate successor doing business as
7/25/2013   3308.27   GPR   10.00   200.00   2000.00 28808   Simple HR (2.4).
                                                             Preparation for and attendance at expert witness deposition of
7/26/2013   3308.27   PHK    6.00   200.00   1200.00 28808   Mark Tharp

7/26/2013   3308.27   JOC    0.30   200.00     60.00 28808   Attention to assets of Simple HR and possible asset investigation.
                                                             Analysis regarding addition of Simple HR successor entity under
7/26/2013   3308.27   JOC    0.30   200.00     60.00 28808   successor liability theory.

                                                             Attention to pursuing HR3, Inc. as a successor entity liable for
                                                             payment of deductibles and premiums (2.0); correspondence and
                                                             telephone call with Brett Miller regarding preparation for
                                                             deposition, including adjustment to reserves and effect upon IBNR
                                                             (1.0); receive and review Notices canceling the depositions of Brett
                                                             Miller and Monika Reitz (.4); email correspondence with Monika
                                                             Reitz regarding cancellation of deposition (.2); email
                                                             correspondence with Brett Miller regarding cancellation of
7/26/2013   3308.27   GPR    3.40   200.00    680.00 28808   deposition (.2).
                                                             Review facts of case in preperation for drafting Motion for Leave to
7/29/2013   3308.27   TMW    1.10   200.00    220.00 28808   Amend to Add HR3 as additional defendant.
                                                             Work on Motion to Join successor defendant corporation as
7/29/2013   3308.27   PHK    1.00   200.00    200.00 28808   indispensable party.
                                                             Attention to preparation of Motion to Amend Complaint and
                                                             preparation of Amended Complaint to add HR3, Inc. and specific
7/29/2013   3308.27   GPR    1.00   200.00    200.00 28808   claims against this new Simple HR entity.
                                                             Draft Motion for Leave to Amend Out of Time to Add HR3 as
7/30/2013   3308.27   TMW    8.10   200.00   1620.00 28808   additional defendant.
              Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 16 of 21



                                                            Review and evaluate deposition testimony from Bill Lindsley,
                                                            Wayne Stark and Mark Tharp to plan Motions in Limine and
7/30/2013   3308.27   PHK   1.00   200.00    200.00 28808   Despositive Motions.
7/30/2013   3308.27   PHK   0.50   200.00    100.00 28808   Work on preparation of Motion to Join Indispensable Party.
                                                            Continued attention to analysis and preparation of Motion to
                                                            Amend Petition and Amended Petition to name and assert claims
                                                            against HR3, Inc. (.2); review of documents recently produced by
7/30/2013   3308.27   GPR   0.60   200.00    120.00 28808   Simple HR (.4).
                                                            Review and edit draft Motion for Leave to Amend to Add HR3 as
                                                            Additional Defendant. Research issues related to amending out of
                                                            time in the interests of justice and equity and successor liability for
7/31/2013   3308.27   TMW   6.50   200.00   1300.00 28808   brief.
                                                            Revise Motion for Leave to Amend out of Time to Add HR3 as
7/31/2013   3308.27   TMW   1.50   200.00    300.00 28808   Additional Defendant per comments from Jerrick Irby.
                                                            Draft Motion for Leave to Amend Out of Time to add HR3 as
8/1/2013    3308.27   TMW   6.20   200.00   1240.00 28929   additional Defendant.

                                                            Draft Amended: Petition to include HR3 as successor liability entity.
                                                            Research successor liability and continuation of business enterprise
8/1/2013    3308.27   TMW   0.80   200.00    160.00 28929   pursuant to Florida law.
                                                            Draft additional language in response to Plaintiff's Motion for Leave
                                                            to Amend. Revise draft per comments from Jerrick Irby. Perform
                                                            cite check of case sources and internal refernences. Forward to
8/2/2013    3308.27   TMW   5.20   200.00   1040.00 28929   Greg Reilly for review.
                                                            Attention to preparation of Motion for Leave to Amend Pleadings
8/2/2013    3308.27   GPR   0.40   200.00     80.00 28929   to include successor entity and claims.

                                                            Review and revise Motion for Leave to Amend per comments from
                                                            Greg Reilly. Check case citations from revisions and internal
                                                            citations per reorganization of Motion. Draft and revise Amended
                                                            Petition for attachment to Motion for Leave to Amend to include
8/5/2013    3308.27   TMW   3.40   200.00    680.00 28929   claim of Successor Liability and request temporary injuction.
                                                            Research Florida Law regarding temporary injunctions for
8/5/2013    3308.27   TMW   1.10   200.00    220.00 28929   incorporation into Amended Petition.
                                                            Work on Motion to join additional party defendant and Amended
8/5/2013    3308.27   PHK   1.00   200.00    200.00 28929   Complaint.
                                                            Review and revise Motion for Leave to Amend Pleading Out of
                                                            Time and attention to preparation of proposed Amended
8/5/2013    3308.27   GPR   1.40   200.00    280.00 28929   Complaint.

                                                            Review Motion for Leave to Amend with Pat Kernan, revise per
8/6/2013    3308.27   TMW   3.50   200.00    700.00 28929   comments from Pat, compile exhibits for Motion and file.
                                                            Work on preparation of Motion to Join Indispensible Party and
8/6/2013    3308.27   PHK   1.00   200.00    200.00 28929   proposed Amended Complaint.
                                                            Review status and analysis regarding strategy regarding successor
8/19/2013   3308.27   JOC   0.60   200.00    120.00 28929   liability.
                                                            Receive and review Simple HR's Response to the Receiver's Motion
8/27/2013   3308.27   GPR   0.50   200.00    100.00 28929   for Leave to Amend Complaint Out of Time.

                                                            Conduct legal research and prepare memorandum regarding
                                                            responsibilities for costs of depositions (.4); review transcripts and
8/28/2013   3308.27   GPR   3.40   200.00    680.00 28929   documents for filing Motion for Summary Judgment (3.0).
                                                            Read and analyze PDS response to Motion for leave to amend in
8/29/2013   3308.27   TMW   1.50   200.00    300.00 28929   order to draft response.

                                                            Review and analyze Defendant's Response to Plaintiff's Motion for
8/29/2013   3308.27   TMW   2.50   200.00    500.00 28929   Leave to Amend. Evaluate claims and research case law cited.
                                                            Telephone conference with Robert Byerts regarding his request for
                                                            additional time to file summary judgment in Daubert Motions and
8/29/2013   3308.27   PHK   0.50   200.00    100.00 28929   length of briefs of be filed.
              Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 17 of 21



                                                             Draft outline for Reply Brief to Defendant's Reply; outline
8/29/2013   3308.27   JOC    3.30   200.00    660.00 28929   argument and research case law for each rebuttal.
                                                             Attention to preparation of Reply brief in support of Motion to
                                                             Amend Pleadings (.4); continue review of deposition transcripts
                                                             and documents in preparation for filing Motion for Summary
                                                             Judgment (6.4); attention to extending time to file Motion for
                                                             Summary Judgment by one day, including review of joint motion
8/29/2013   3308.27   GPR    7.40   200.00   1480.00 28929   (.6).

                                                             Research case law and analyze argument for Reply to Defendant's
8/30/2013   3308.27   TMW    8.20   200.00   1640.00 28929   Response to Plaintiff's Motion for Leave to Amend Out of Time.
                                                             Continue review of documents and preparation of Motion for
                                                             Summary Judgment (5.0); correspondence with Kris Williams
                                                             regarding modification of the amounts due as a result of the
                                                             settlement of claimant for less than reserves and other accounting
8/30/2013   3308.27   GPR    5.40   200.00   1080.00 28929   issues (.4).
                                                             Draft outline of case law for Reply brief, analyze Defendant's
                                                             argument and draft Reply addrressing issues raised in Defendant's
8/31/2013   3308.27   TMW    7.20   200.00   1440.00 28929   Response.
                                                             Continue analysis and preparation of Motion for Summary
8/31/2013   3308.27   GPR    8.00   200.00   1600.00 28929   Judgment.
9/1/2013    3308.27   GPR    3.00   200.00    600.00 29541   Continue preparation of Motion for Summary Judgment.
9/2/2013    3308.27   GPR    7.60   200.00   1520.00 29541   Continue preparation of Motion for Summary Judgment.
                                                             Review and revise reply to Defendants Response to Motion for
9/3/2013    3308.27   TMW    4.80   200.00    960.00 29541   Leave to Amend. Draft Proposed Order
                                                             Work on reply to response of defendant to Plaintiff's motion to join
9/3/2013    3308.27   PHK    1.00   200.00    200.00 29541   additional party.

                                                             Analyze and revise Reply in support of Motion to Amend (2.4);
9/3/2013    3308.27   GPR   10.00   200.00   2000.00 29541   continue preparation of Motion for Summary Judgment (7.6).
9/4/2013    3308.27   GPR    9.40   200.00   1880.00 29541   Finalize and file Motion for Summary Judgment.

                                                             Attention to preparation and delivery of Motion for Summary
                                                             Judgment for Judge Heaton (.6); receive and review order granting
                                                             leave to extend page limit (.2); receive and review Simple HR's
9/5/2013    3308.27   GPR    1.60   200.00    320.00 29541   Partial Motion for Summary Judgment (.8).
                                                             Continue review of Simple HR's Motion for Partial Summary
9/10/2013   3308.27   GPR    0.50   200.00    100.00 29541   Judgment

                                                             Analysis and preparation of memorandum regarding case
                                                             scheduling and events that could alter the scheduling order (.6);
                                                             receive and review order granting Simple HR's request to file sur‐
                                                             reply on the Receiver's Motion to Amend Pleadings to add HR3 and
                                                             review and analysis of draft sur‐reply (.6); analysis regarding stay of
                                                             receivership actions, effect it may have on trial setting, and
9/17/2013   3308.27   GPR    1.80   200.00    360.00 29541   potential alternatives (.6).
9/18/2013   3308.27   PHK    0.20   200.00     40.00 29541   Review status and determine next actions.
9/18/2013   3308.27   JOC    0.20   200.00     40.00 29541   Review status and determine next actions.
                                                             Strategize regarding status and prosecution of the action, including
                                                             analysis of receivership court's order staying all hearings on
                                                             applications in the receivership proceeding (.2); prepare matter
9/18/2013   3308.27   GPR    0.40   200.00     80.00 29541   status update (.2).
                                                             Continued analysis of Simple HR's Motion for Partial Summary
9/23/2013   3308.27   GPR    6.70   200.00   1340.00 29541   Judgment and preparation of Response.
              Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 18 of 21



                                                             Correspondence to Robert Byerts regarding extension of time to
                                                             file response to Daubert motions and response to Defendant's
                                                             Summary Judgment (.5); extended telephone conference with
                                                             Robert Byerts regarding extension of certain deadlines in the
                                                             Scheduling Order (.5); preparation, review, revision of joint motion
                                                             to extend certain deadlines in Scheduling Order and file with the
9/25/2013   3308.27   PHK    1.75   200.00    350.00 29541   Court (.75).

                                                             Attention to preparation of Response to Motion for Summary
                                                             Judgment and Response to Daubert Motion (.2); telephone call
                                                             with Robert Byerts regarding summary judgment motions, pending
                                                             motion to amend the pleadings and trial preparation materials in
                                                             light of current scheduling order (.5); continue analysis and
                                                             preparation of Response to Motion for Partial Summary Judgment
                                                             (1.0); Review and revise Joint Motion regarding scheduling issues
9/25/2013   3308.27   GPR    2.00   200.00    400.00 29541   (.3).

                                                             Continue review of documents and transcripts and preparation of
9/27/2013   3308.27   GPR    9.40   200.00   1880.00 29541   Response to Simple HR's Motion for Partial Summary Judgment.
                                                             Continue preparation of Response to Simple HR's Motion for Partial
9/28/2013   3308.27   GPR    9.00   200.00   1800.00 29541   Summary Judgment.
                                                             Continue preparation of Response to Simple HR's Motion for Partial
9/29/2013   3308.27   GPR    1.20   200.00    240.00 29541   Summary Judgment.
                                                             Work on response to defendant's Daubert Motion against Mark
9/30/2013   3308.27   PHK    4.00   200.00    800.00 29541   Tharp opinions (4.).
                                                             Draft correspondence to Paul Wilkening regarding progress to be
9/30/2013   3308.27   JOC    0.20   200.00     40.00 29541   made / deadlines for this week.
                                                             Continue preparation of Response to Simple HR's Motion for Partial
                                                             Summary Judgment, including selection and coordination of
9/30/2013   3308.27   GPR   10.00   200.00   2000.00 29541   exhibits.
                                                             Work on response brief to Defendant's Daubert Motion against
                                                             Mark Tharp opinions inclulding preparation of exhibits to be
10/1/2013   3308.27   PHK    6.00   200.00   1200.00         attached.
                                                             Finalize and file Response to Simple HR's Motion for Partial
                                                             Summary Judgment (8.4); review, revise, and file Response to
                                                             Simple HR's Motion to Exclude Expert Testimony of Mark Tharp
10/1/2013   3308.27   GPR    9.40   200.00   1880.00         (1.0).
                                                             Review revised scheduling order and forward to Mark Tharp and
10/2/2013   3308.27   JOC    0.20   200.00     40.00         Paul Wilkening.
                                                             Review status regarding new scheduling order and legal issues to
10/2/2013   3308.27   JOC    0.50   200.00    100.00         be brought before the Court.
                                                             Receive and review Simple HR's Response to the Receiver's Motion
                                                             for Summary Judgment (.8); strategize regarding preparation of
                                                             arguments for Reply (.6); receive and review Court's Order
                                                             extending deadlines (.4); strategize regarding tasks to be
                                                             completed in short order due to Court's limited expansion of
10/2/2013   3308.27   GPR    2.40   200.00    480.00         deadlines (.6).

                                                             Preparation of case status report to Mark Tharp, including
                                                             evaluation and analysis of all pending motions with the court and a
10/3/2013   3308.27   PHK    1.50   200.00    300.00         timeline of events leading up to jury trial in December.

                                                             Attention to gathering documents to be used at trial (.4); strategize
                                                             regarding presentation of evidence for Judge Heaton, and judicial
                                                             demeanor in recent hearings in unrelated actions involving the
                                                             Receiver (.4); continued analysis in preparation for filing Reply to
10/3/2013   3308.27   GPR    1.20   200.00    240.00         Motion for Summary Judgment (.4).
                                                             Analysis and preparation of Reply in Support of the Receiver's
10/5/2013   3308.27   GPR    3.10   200.00    620.00         Motion for Summary Judgment.
              Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 19 of 21



                                                      Continue analysis and preparation of Reply in Support of the
10/7/2013   3308.27   GPR   2.60   200.00    520.00   Receiver's Motion for Summary Judgment.
                                                      Continue legal research, analysis, and preparation of Reply in
                                                      Support of the Receiver's Motion for Summary Judgment (4.4);
                                                      receive and review Simple HR's Reply in Support of Its Motion for
10/9/2013   3308.27   GPR   4.80   200.00    960.00   Summary Judgment (.4).
                                                      Draft discovery requests for identifying successor liability entities
                                                      for identification and action prior to statute of limitations deadline.
10/11/2013 3308.27    TMW   0.60   200.00    120.00   Forward to Jon Payne for review.

10/15/2013 3308.27    JOC   0.40   200.00     80.00   Review an analysis regarding issues and status of trial preparation.
                                                      Receive and review Orders requiring Simple HR to revise its
                                                      responses to the Receiver's Statement of Undisputed Material
                                                      Facts (.2); review of briefings on Motions for Summary Judgment
10/17/2013 3308.27    GPR   0.60   200.00    120.00   (.4).
                                                      Review Defendant's Response to Motion for Summary Judgment,
                                                      paying particular attention to handling of developed losses and
10/22/2013 3308.27    JOC   0.50   200.00    100.00   surplus loans.
                                                      Begin review of corrected Response to the Receiver's Motion for
                                                      Summary Judgment to determine revisions and necessity of filing
10/24/2013 3308.27    GPR   0.40   200.00     80.00   new Reply.
                                                      Continue analysis and strategy for filing Reply in support of Motion
10/25/2013 3308.27    GPR   0.40   200.00     80.00   for Summary Judgment.
                                                      Review comparison of Simple HR's Responses to the Receiver's
                                                      Motion for Summary Judgment to determine if re‐filing and
10/28/2013 3308.27    GPR   1.20   200.00    240.00   revision to the Receiver's Reply is warranted.
                                                      Review depositions of Wayne Stark and Bill Lindsley and prepare
                                                      designations of deposition testimony and file pursuant to the
11/1/2013   3308.27   PHK   5.00   200.00   1000.00   scheduling order

                                                      Strategize regarding preparation and filing of deposition
                                                      designations of Wayne Stark and Bill Lindsley (.8); finalize and file
                                                      Deposition Designations of Wayne Stark (.3); finalize and file
11/1/2013   3308.27   GPR   1.40   200.00    280.00   Deposition Designations of Bill Lindsley (.3).
11/3/2013   3308.27   JOC   0.30   200.00     60.00   Review status report regarding the approaching jury trial.

                                                      Work on preparation of motion in limine and objections to
11/5/2013   3308.27   PHK   0.50   200.00    100.00   deposition designations in compliance with scheduling order

                                                      work on preparation of pretrial conference order (1); research and
                                                      analysis of application of Denney 'no fraud as a defense' rule as
                                                      applied in banking receiverships to insurance receiverships to
11/6/2013   3308.27   PHK   1.50   200.00    300.00   assert new argument against fraud defenses (.5)

                                                      Attention to preparation of proposed pretrial order and receive
11/6/2013   3308.27   GPR   0.40   200.00     80.00   and review correspondence with Robert Byerts regarding the same
                                                      Work on preparation of final pretrial order and counter‐
11/7/2013   3308.27   PHK   4.00   200.00    800.00   designations and objections to deposition designations
                                                      Trial preparation, including determination of likely docket call and
                                                      trial commencement date, review of trial rules and guidelines, and
11/7/2013   3308.27   GPR   2.00   200.00    400.00   contents of a pretrial report.
11/8/2013   3308.27   GPR   5.80   200.00   1160.00   Begin preparation of proposed Pretrial Report.
                                                      Review and evaluation of all relevant documents and pleadings as
11/10/2013 3308.27    PHK   3.00   200.00    600.00   part of the preparation of a final pretrial order
11/10/2013 3308.27    GPR   2.00   200.00    400.00   Continue preparation of proposed Pretrial Report.
                                                      Work on and finalize counter designations of deposition testimony
                                                      of Wayne Stark and William Lindsley in compliance with scheduling
11/11/2013 3308.27    PHK   4.00   200.00    800.00   order
11/11/2013 3308.27    GPR   3.20   200.00    640.00   Continue preparation of Pretrial Report.
             Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 20 of 21




                                                     Continue preparation of proposed Pretrial Report (4.2); telephone
                                                     call with Robert Byerts regarding Pretrial Report, docket call, and
                                                     preparation for trial ahead of ruling on motions for summary
                                                     judgment (.4); correspondence with Mr. Byerts regarding
11/12/2013 3308.27   GPR   4.80   200.00    960.00   preparation of Pretrial Report and jury demand (.2).
                                                     Review and analysis of 26 page Summary Judgment opinion from
                                                     Judge Heaton (1); conference with Mark Tharp and Greg Reilly
11/14/2013 3308.27   PHK   1.50   200.00    300.00   regarding consequences of order (.5)
                                                     Work on preparation and finalizing pretrial order (1.5);
                                                     correspondence to and from Robert Byerts regarding defendant's
11/14/2013 3308.27   PHK   1.50   200.00    300.00   input into pretrial order (.5)
                                                     Review and revise Simple HR's draft of the Pretrial Report,
                                                     including insertion of objections (1.8); correspondence with Robert
                                                     Byerts regarding revisions (.2); receive and review detailed opinion
                                                     and Order of the Court Granting the Receiver's Motion for
11/14/2013 3308.27   GPR   3.40   200.00    680.00   Summary Judgment
                                                     Research regarding certification of question to Oklahoma Supreme
11/19/2013 3308.27   TMW   3.00   200.00    600.00   Court for interpretation of 36 O.S. 3621.

                                                     Analysis regarding Judge Heaton's ruling on the invalidity of the
                                                     insurance Agreements and strategy for reconsideration, appeal, or
                                                     motion to certify (.6); correspondence regarding the issue to Mark
11/19/2013 3308.27   GPR   0.80   200.00    160.00   Tharp and Kris Williams (.2); prepare draft Judgment to be filed (__)

                                                     Analysis of Judge Heaton's Order regarding the effect of 36 OS
                                                     3621 and various legal arguments to assert in a motion to
                                                     reconsider Order and motion to certify question regarding 3621to
                                                     Oklahoma Supreme Court (2); telephone conference with Mark
                                                     Tharp, Kris Williams, John O'Connor regarding same (.5); review
11/20/2013 3308.27   PHK   2.80   200.00    560.00   and revise proposed Judgment (.3)
                                                     Review and analysis regarding implications of Judge Heaton ruling
11/20/2013 3308.27   JOC   0.50   200.00    100.00   regarding IBNR.
11/20/2013 3308.27   JOC   0.40   200.00     80.00   Review analysis regarding discount to manual premium.

                                                     Prepare Judgment pursuant to the Court's Order granting the
                                                     Receiver's Motion for Summary Judgment, including procedural
                                                     research regarding request for attorney fees (2.4); email
                                                     correspondence with Robert Byerts regarding preparation of
                                                     Judgment (.2); Review of policies to determine whether deductible
                                                     premium discount is included (.4); strategize regarding Judge
                                                     Heaton's ruling and filing of a Motion to Reconsider to allow
                                                     enforcement of the Agreements, certify the question to the
                                                     Oklahoma Supreme Court, or, alternatively, charge premiums at
                                                     the policy rate (.4); telephone call with Mark Tharp and Kris
                                                     Williams regarding ruling and recommendation for handling (.6);
                                                     review of pleadings in the Consedine case to locate copy of policy
11/20/2013 3308.27   GPR   4.80   200.00    960.00   used (.8).
                                                     Revise proposed Judgment (.4); correspondence with Robert Byerts
                                                     regarding revisions and submission to Judge Heaton (.2); continue
                                                     analysis of Consedine case, including telephone call to counsel for
                                                     Louisiana receiver to obtain copy of policies at issue (2.0); detailed
                                                     review and analysis of policies, premium audits, and other
                                                     documents to develop argument for Motion for Reconsideration
11/21/2013 3308.27   GPR   5.60   200.00   1120.00   (3.0).
              Case 5:12-cv-00457-HE Document 92-2 Filed 12/10/13 Page 21 of 21




                                                          Continue analysis of facts and potential arguments to support a
                                                          Motion to Reconsider (1.8); review policies at issue in the
                                                          Consedine Case (.8); conduct online research of NCCI codes
                                                          applicable to large deductible policies (.8); correspondence with
11/22/2013 3308.27    GPR     3.80   200.00      760.00   Kris Williams regarding NCCI codes (.4).
                                                          Telephone conference with Robert Byerts regarding content of
                                                          Judgment to be submitted to the Court (.5); work on motion to
11/25/2013 3308.27    PHK     1.00   200.00      200.00   reconsider summary judgment (.5)

11/25/2013 3308.27    GPR     0.40   200.00       80.00   Update case status and activity contemplated to advance litigation.
                                                          Correspondence with Robert Byerts regarding revisions to
                                                          proposed Judgment (.4); telephone call with Robert Byerts
                                                          regarding form of proposed Judgment and grounds for
                                                          reconsideration (.4); prepare correspondence submitting proposed
11/25/2013 3308.27    GPR     1.00   200.00      200.00   Judgment to the Court (.2).

11/26/2013 3308.27    JOC     0.40   200.00       80.00   Review Judgment entered by Judge Heaton in favor of Receiver.
12/5/2013 3308.27     GPR     4.30   200.00      860.00   Analysis and preparation of Motion to Reconsider.
                                                          Receive and review Simple HR's Motion to Amend or Alter the
12/6/2013   3308.27   GPR     0.40   200.00       80.00   Judgment.
                                                          Receipt and review Defendant's Motion to Alter Judgement and
12/9/2013   3308.27   PHK     1.00   200.00      200.00   brief in support
                            763.75            152750.00
